AO 450 (Rev. 5/85) Judgment in a Civil Case q




        United States District Court
                                  EASTERN DISTRICT OF WISCONSIN


                                                             JUDGMENT IN A CIVIL CASE

          CHARLIE TATE, JR.,

                                            Plaintiff,

                           V.                                 CASE NUMBER: 06-C-670

          MILWAUKEE COUNTY JAIL,
          MILWAUKEE COUNTY COURTHOUSE,
          MILWAUKEE COUNTY SHERIFF’S DEPARTMENT,
          JOHN DOE,
          JOHN LNU,
          DR. TROUTMAN,
          JOHN P. RIEGERT, R.N.,
          SERGEANT HALE,

                                           Defendants.

9         Jury Verdict. This action came before the Court for a trial by jury. The issues have been
          tried and the jury has rendered its verdict.

:         Decision by Court. This action came on for consideration and a decision has been rendered.


          IT IS ORDERED AND ADJUDGED that the defendants Milwaukee County Jail and the
          Milwaukee County Sheriff’s Department are dismissed from this action pursuant to 28
          U.S.C. § 1915(e)(2)(B)(ii).

          The plaintiff Charlie Tate, Jr.’s petition to proceed in forma pauperis against
          defendants the Milwaukee County Court House, John or Jane Doe Judge or
          Commissioner, Jane Doe receptionist, and John or Jane Doe prosecutor, is DENIED.
       Charlie Tate, Jr.'s motion for default judgment on his 28 U.S.C. § 1983 action as to
       damages is GRANTED to the extent that he is awarded compensatory damages against
       the defendants Dr. Troutman, John P. Riegert, R.N. and Sergeant Hale, jointly and
       severally in the amount of $27,000, on his Eighth Amendment claim relating to
       inadequate medical treatment provided to him for his dislocated shoulder, plus
       $7,099.74 (prejudgment interest at the average monthly prime rate of 6.10%
       compounded annually from the period beginning on February 17, 2006, through the
       January 27, 2010, date of the entry of this judgment). The total compensatory damages
       award is $34,099.74.

       Punitive damages are awarded to Charlie Tate, Jr. in the amount of $9,000 – $3,000
       each from Dr. Troutman, John P. Riegert, R.N. and Sergeant Hale.

       Pursuant to 28 U.S.C. § 1961 post-judgment interest is awarded to Charlie Tate, Jr.

       In all other respects, Charlie Tate, Jr.'s motion for default judgment as to damages is
       DENIED.

       This action is hereby DISMISSED.




       January 27, 2010                                  JON W. SANFILIPPO
Date                                                     Clerk


                                                          s/ Linda M. Zik
                                                         (By) Deputy Clerk




APPROVED:



s/ Rudolph T. Randa
Hon. Rudolph T. Randa
U.S. District Judge



Dated: January 27, 2010
